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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


 GARY W. ROADARMEL,

        Plaintiff,
                                                                     Case No. 1:19-cv-445
 v.
                                                                     HON. JANET T. NEFF
 JARED LEE HOPKINS,

        Defendant.
 ____________________________/


                                    OPINION AND ORDER

       Plaintiff, proceeding pro se, initiated this action in June 2019 under 42 U.S.C. § 1983.

Defendant filed a motion for summary judgment in July 2019. The matter was referred to the

Magistrate Judge, who issued a Report and Recommendation (R&R), recommending that

Defendant’s motion be granted and this case terminated. The matter is presently before the Court

on Plaintiff’s objections to the Report and Recommendation. Defendant did not respond to the

objections. In accordance with 28 U.S.C. § 636(b)(1) and FED. R. CIV. P. 72(b)(3), the Court has

performed de novo consideration of those portions of the Report and Recommendation to which

objections have been made. The Court denies the objections and issues this Opinion and Order.

       The Magistrate Judge recommends that Defendant’s motion be granted because Plaintiff

failed to present any evidence identifying state action in support of his § 1983 claim (R&R, ECF

No. 15 at PageID.213). Alternatively, the Magistrate Judge recommends that Defendant’s motion

be granted on the ground that Plaintiff lacks standing to pursue his claim, thus depriving the Court

of jurisdiction to hear this matter (id. at PageID.215). Plaintiff’s objections wholly fail to
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address—let alone identify error in—the bases for the Magistrate Judge’s recommendation.

Therefore, the Court denies Plaintiff’s objections and approves and adopts the Report and

Recommendation as the Opinion of the Court. Further, the Court will enter a Judgment consistent

with this Opinion and Order.

       Therefore:

       IT IS HEREBY ORDERED that Plaintiff’s Objections (ECF No. 19, as supplemented by

ECF No. 21) are DENIED and the Report and Recommendation of the Magistrate Judge (ECF No.

15) is APPROVED and ADOPTED as the Opinion of the Court.

       IT IS FURTHER ORDERED that Defendant’s Motion for Summary Judgment (ECF No.

10) is GRANTED for the reasons stated in the Report and Recommendation.

       IT IS FURTHER ORDERED that Plaintiff’s Motion to Appoint Counsel (ECF No. 2) is

DENIED.

       IT IS FURTHER ORDERED that Plaintiff’s Motion for Order named as “Request for

Polygraph Testing” (ECF No. 3) is DENIED.

       IT IS FURTHER ORDERED that Plaintiff’s Motion for Hearing (ECF No. 8) is

DENIED.

       IT IS FURTHER ORDERED that Plaintiff’s Motion for Order named as “Motion Filed

by Fed.R.Civ.Pro. Rule 56(c)(4)” (ECF No. 23) is DENIED.



Dated: February 27, 2020                                    /s/ Janet T. Neff
                                                          JANET T. NEFF
                                                          United States District Judge




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